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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                           :        No. 3:16-CR-220 (AWT)
                                                   :
v.                                                 :
                                                   :
                                                   :
DAVID DEMOS,                                       :
                                                   :
              Defendant.                           :                 March 5, 2018

           MOTION TO COMPEL DISCOVERY AND BRADY MATERIALS

       Defendant Demos respectfully moves to compel the Government to produce evidence obtained

during the investigation of Cantor and Mr. Demos, in accordance with Brady v. Maryland, 373

U.S. 83 (1963), Kyles v. Whitley, 514 U.S. 419 (1995), their progeny, the Fifth and Sixth

Amendments to the United States Constitution, the Federal Rules of Criminal Procedure, District

of Connecticut Local Rules, and the US Attorneys’ Manual.



                                                            Respectfully submitted,

                                                            DAVID DEMOS

                                                       By: /s/ George Leontire

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